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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 14-96-GF-BMM

            Plaintiff,

      vs.                                    ORDER DENYING MOTION TO
                                                REDUCE SENTENCE
TERRY LEROY BRASDA,

            Defendant.


      Defendant Brasda moved the Court to reduce his sentence under 18 U.S.C. §

3582(c)(2) and Amendment 794 to the United States Sentencing Guidelines on

August 22, 2016. Brasda is a federal prisoner proceeding pro se.

      The Court sentenced Brasda on March 25, 2015. He did not appeal. His

sentence became final when his time to appeal expired on April 8, 2015. See

Griffith v. Kentucky, 479 U.S. 314, 321 n.6 (1987).

      The Sentencing Commission amended the commentary to U.S.S.G. § 3B1.2

on November 1, 2015, to broaden the circumstances that could support a

downward adjustment for a defendant who plays a minor role in the offense. See

U.S.S.G. § 3B1.2 Application Note 3 (Nov. 1, 2015). Brasda asks the Court to re-

sentence him under the new commentary with a minor role reduction.

      Amendment 794 applies to defendants whose sentences were not yet final

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when the amendment was enacted on November 1, 2015. See United States v.

Quintero-Leyva, 823 F.3d 519, 521 (9th Cir. 2016). The Quintero court pointed

out in a footnote that the case “did not present the issue of whether, under the

Amendment, a defendant who has exhausted his direct appeal can move to reopen

sentencing proceedings.” The Quintero court declined to reach this issue. Id. at

521 n.1. Brasda now presents this issue.

      18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 come closer to addressing

this issue. Section 3582(c)(2) authorizes a court to reopen a final sentence “based

on a sentencing range that has subsequently been lowered” only “if such a

reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” The Commission’s policy statement regarding sentence reductions

under § 3582(c)(2), can be found in U.S.S.G. § 1B1.10. Section 1B1.10(a)(2)(A)

in particular states that “[a] reduction in the defendant’s term of imprisonment is

not consistent with this policy statement and therefore is not authorized under 18

U.S.C. § 3582(c)(2) if—[n]one of the amendments listed in subsection (d) is

applicable to the defendant.” The Court may not entertain a sentence reduction

because the amendment Brasda motioned under—Amendment 794—is not

enumerated in USSG § 1B1.10(d).

      A reduction for Brasda, whose sentence became final before Amendment

794 was enacted, would not be consistent with the applicable policy statement in

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U.S.S.C. § 1B1.10(d) and is not authorized by 18 U.S.C. § 3582(c)(2).


      Accordingly, IT IS HEREBY ORDERED that Brasda’s motion to reduce the

sentence (Doc. 824) is DENIED.

      DATED this 3rd day of October, 2016.




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